Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 1 of 149 PageID #:7625
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 2 of 149 PageID #:7626
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 3 of 149 PageID #:7627
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 4 of 149 PageID #:7628
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 5 of 149 PageID #:7629
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 6 of 149 PageID #:7630
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 7 of 149 PageID #:7631
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 8 of 149 PageID #:7632
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 9 of 149 PageID #:7633
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 10 of 149 PageID #:7634
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 11 of 149 PageID #:7635
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 12 of 149 PageID #:7636
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 13 of 149 PageID #:7637
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 14 of 149 PageID #:7638
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 15 of 149 PageID #:7639
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 16 of 149 PageID #:7640
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 17 of 149 PageID #:7641
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 18 of 149 PageID #:7642
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 19 of 149 PageID #:7643
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 20 of 149 PageID #:7644
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 21 of 149 PageID #:7645
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 22 of 149 PageID #:7646
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 23 of 149 PageID #:7647
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 24 of 149 PageID #:7648
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 25 of 149 PageID #:7649
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 26 of 149 PageID #:7650
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 27 of 149 PageID #:7651
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 28 of 149 PageID #:7652
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 29 of 149 PageID #:7653
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 30 of 149 PageID #:7654
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 31 of 149 PageID #:7655
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 32 of 149 PageID #:7656
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 33 of 149 PageID #:7657
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 34 of 149 PageID #:7658
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 35 of 149 PageID #:7659
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 36 of 149 PageID #:7660
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 37 of 149 PageID #:7661
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 38 of 149 PageID #:7662
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 39 of 149 PageID #:7663
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 40 of 149 PageID #:7664
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 41 of 149 PageID #:7665
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 42 of 149 PageID #:7666
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 43 of 149 PageID #:7667
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 44 of 149 PageID #:7668
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 45 of 149 PageID #:7669
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 46 of 149 PageID #:7670
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 47 of 149 PageID #:7671
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 48 of 149 PageID #:7672
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 49 of 149 PageID #:7673
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 50 of 149 PageID #:7674
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 51 of 149 PageID #:7675
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 52 of 149 PageID #:7676
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 53 of 149 PageID #:7677
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 54 of 149 PageID #:7678
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 55 of 149 PageID #:7679
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 56 of 149 PageID #:7680
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 57 of 149 PageID #:7681
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 58 of 149 PageID #:7682
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 59 of 149 PageID #:7683
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 60 of 149 PageID #:7684
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 61 of 149 PageID #:7685
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 62 of 149 PageID #:7686
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 63 of 149 PageID #:7687
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 64 of 149 PageID #:7688
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 65 of 149 PageID #:7689
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 66 of 149 PageID #:7690
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 67 of 149 PageID #:7691
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 68 of 149 PageID #:7692
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 69 of 149 PageID #:7693
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 70 of 149 PageID #:7694
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 71 of 149 PageID #:7695
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 72 of 149 PageID #:7696
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 73 of 149 PageID #:7697
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 74 of 149 PageID #:7698
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 75 of 149 PageID #:7699
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 76 of 149 PageID #:7700
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 77 of 149 PageID #:7701
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 78 of 149 PageID #:7702
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 79 of 149 PageID #:7703
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 80 of 149 PageID #:7704
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 81 of 149 PageID #:7705
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 82 of 149 PageID #:7706
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 83 of 149 PageID #:7707
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 84 of 149 PageID #:7708
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 85 of 149 PageID #:7709
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 86 of 149 PageID #:7710
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 87 of 149 PageID #:7711
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 88 of 149 PageID #:7712
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 89 of 149 PageID #:7713
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 90 of 149 PageID #:7714
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 91 of 149 PageID #:7715
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 92 of 149 PageID #:7716
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 93 of 149 PageID #:7717
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 94 of 149 PageID #:7718
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 95 of 149 PageID #:7719
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 96 of 149 PageID #:7720
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 97 of 149 PageID #:7721
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 98 of 149 PageID #:7722
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 99 of 149 PageID #:7723
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 100 of 149 PageID #:7724
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 101 of 149 PageID #:7725
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 102 of 149 PageID #:7726
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 103 of 149 PageID #:7727
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 104 of 149 PageID #:7728
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 105 of 149 PageID #:7729
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 106 of 149 PageID #:7730
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 107 of 149 PageID #:7731
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 108 of 149 PageID #:7732
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 109 of 149 PageID #:7733
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 110 of 149 PageID #:7734
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 111 of 149 PageID #:7735
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 112 of 149 PageID #:7736
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 113 of 149 PageID #:7737
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 114 of 149 PageID #:7738
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 115 of 149 PageID #:7739
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 116 of 149 PageID #:7740
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 117 of 149 PageID #:7741
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 118 of 149 PageID #:7742
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 119 of 149 PageID #:7743
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 120 of 149 PageID #:7744
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 121 of 149 PageID #:7745
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 122 of 149 PageID #:7746
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 123 of 149 PageID #:7747
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 124 of 149 PageID #:7748
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 125 of 149 PageID #:7749
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 126 of 149 PageID #:7750
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 127 of 149 PageID #:7751
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 128 of 149 PageID #:7752
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 129 of 149 PageID #:7753
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 130 of 149 PageID #:7754
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 131 of 149 PageID #:7755
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 132 of 149 PageID #:7756
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 133 of 149 PageID #:7757
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 134 of 149 PageID #:7758
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 135 of 149 PageID #:7759
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 136 of 149 PageID #:7760
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 137 of 149 PageID #:7761
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 138 of 149 PageID #:7762
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 139 of 149 PageID #:7763
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 140 of 149 PageID #:7764
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 141 of 149 PageID #:7765
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 142 of 149 PageID #:7766
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 143 of 149 PageID #:7767
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 144 of 149 PageID #:7768
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 145 of 149 PageID #:7769
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 146 of 149 PageID #:7770
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 147 of 149 PageID #:7771
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 148 of 149 PageID #:7772
Case: 1:12-cv-07167 Document #: 172-2 Filed: 09/16/14 Page 149 of 149 PageID #:7773
